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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:06CR184
                              )
          v.                  )
                              )
STEVE EUGENE ENCINAS,         )                      ORDER
                              )
               Defendant.     )
______________________________)


          The Court has been advised that defendant wishes to

enter a plea.    Accordingly,

          IT IS ORDERED that a Rule 11 hearing is scheduled for:

                 Friday, April 20, 2007, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.

          DATED this 16th day of April, 2007.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
